                                       Case 5:25-mc-80022                            Document 1-5                   Filed 02/03/25                   Page 1 of 1
                                                                                 CIVIL COVER SHEET
JS-CAND 44 (Rev. 12/2024)

This civil cover sheet does not replace or supplement the filing and service of pleadings or other papers. The information on this form, approved in its original form by the
Judicial Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket. Instructions are on the reverse of this form.

I. PLAINTIFF(S)                                                                                           DEFENDANT(S)
HMD Global Oy                                                                                             Ex Parte
County of Residence of First Listed Plaintiff:                                                            County of Residence of First Listed Defendant:
Leave blank in cases where United States is plaintiff. Espoo, Finland                                     Use ONLY in cases where United States is plaintiff.

Attorney or Pro Se Litigant Information (Firm Name, Address, and Telephone Number)                        Defendant's Attorney's Name and Contact Information (if known)
 Warren Kash Warren LLP
 2261 Market Street, No. 606
 San Francisco, California, 94114, + 1 (415) 895-2940
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III.     CAUSE OF ACTION
      1    U.S. Government Plaintiff        3    Federal Question                                         Cite the U.S. Statute under which you are filing: (Use jurisdictional statutes only for diversity)
                                                 (U.S. Government Not a Party)
                                                                                                          28 U.S.C. § 1782
      2    U.S. Government Defendant        4    Diversity
                                                                                                          Brief description of case: Ex parte application for discovery in foreign proceedings

 IV.         NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                TORTS                                     FORFEITURE/PENALTY                     BANKRUPTCY                      OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                    PERSONAL INJURY                 625 Drug Related Seizure of       422 Appeal 28 USC § 158            375 False Claims Act
   120 Marine                                                                                                   Property 21 USC § 881         423 Withdrawal 28 USC              376 Qui Tam (31 USC
                                       310 Airplane                       365 Personal Injury – Product
   130 Miller Act                                                             Liability                     690 Other                             § 157                              § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                              367 Health Care/                           LABOR                      PROPERTY RIGHTS                  400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of Overpayment                                                Pharmaceutical Personal                                                                            410 Antitrust
                                       330 Federal Employers’                                               710 Fair Labor Standards Act      820 Copyrights
        & Enforcement of                                                      Injury Product Liability                                                                           430 Banks and Banking
                                           Liability                                                        720 Labor/Management              830 Patent
       Judgment                                                           368 Asbestos Personal Injury                                                                           450 Commerce
                                       340 Marine                                                               Relations                     835 Patent─Abbreviated New
   151 Medicare Act                                                           Product Liability
                                       345 Marine Product Liability                                         740 Railway Labor Act                 Drug Application               460 Deportation
   152 Recovery of Defaulted                                              PERSONAL PROPERTY                                                                                      470 Racketeer Influenced &
                                       350 Motor Vehicle                                                    751 Family and Medical            840 Trademark
       Student Loans                                                      370 Other Fraud                                                                                            Corrupt Organizations
                                       355 Motor Vehicle Product                                                Leave Act                     880 Defend Trade Secrets
       (Excludes Veterans)                                                371 Truth in Lending
                                           Liability                                                        790 Other Labor Litigation            Act of 2016                    480 Consumer Credit
   153 Recovery of                                                        380 Other Personal Property
                                       360 Other Personal Injury                                            791 Employee Retirement                                              485 Telephone Consumer
       Overpayment                                                                                                                             SOCIAL SECURITY
                                                                              Damage                            Income Security Act                                                  Protection Act
       of Veteran’s Benefits           362 Personal Injury -Medical                                                                           861 HIA (1395ff)
                                           Malpractice                    385 Property Damage Product                                                                            490 Cable/Sat TV
   160 Stockholders’ Suits                                                    Liability                          IMMIGRATION                  862 Black Lung (923)               850 Securities/Commodities/
   190 Other Contract                                                                                       462 Naturalization                863 DIWC/DIWW (405(g))                 Exchange
                                            CIVIL RIGHTS                  PRISONER PETITIONS
   195 Contract Product Liability                                                                               Application                   864 SSID Title XVI                 890 Other Statutory Actions
                                       440 Other Civil Rights                HABEAS CORPUS                  465 Other Immigration
   196 Franchise                                                                                                                              865 RSI (405(g))                   891 Agricultural Acts
                                       441 Voting                         463 Alien Detainee                    Actions
          REAL PROPERTY                442 Employment                                                                                          FEDERAL TAX SUITS                 893 Environmental Matters
                                                                          510 Motions to Vacate
   210 Land Condemnation               443 Housing/                           Sentence                                                        870 Taxes (U.S. Plaintiff or       895 Freedom of Information
                                           Accommodations                                                                                         Defendant)                         Act
   220 Foreclosure                                                        530 General
                                       445 Amer. w/Disabilities–                                                                              871 IRS–Third Party                896 Arbitration
   230 Rent Lease & Ejectment                                             535 Death Penalty
   240 Torts to Land                       Employment                                                                                             26 U.S.C. § 7609               899 Administrative Procedure
                                                                                    OTHER                                                                                            Act/Review or Appeal of
   245 Tort Product Liability          446 Amer. w/Disabilities–Other
                                                                          540 Mandamus & Other                                                                                       Agency Decision
   290 All Other Real Property         448 Education
                                                                          550 Civil Rights                                                                                       950 Constitutionality of State
                                                                          555 Prison Condition                                                                                       Statutes
                                                                          560 Civil Detainee–
                                                                              Conditions of
                                                                              Confinement

 V.          ORIGIN (Place an “X” in One Box Only)                                                                                                                           Multidistrict Litigation–Transfer
      Original Proceeding       Removed from State Court        Remanded from Appellate Court         Reinstated or Reopened        Transferred from Another District
                                                                                                                                                                             Multidistrict Litigation–Direct File

 VI. FOR DIVERSITY CASES ONLY:                                                               VII.         REQUESTED IN COMPLAINT
     CITIZENSHIP OF PRINCIPAL PARTIES
          (Place an “X” in One Box for Plaintiff and One Box for Defendant)                       Check if the complaint contains a jury demand.
Plaintiff Defendant                                                                               Check if the complaint contains a monetary demand. Amount: $
                 Citizen of California
                                                                                                  Check if the complaint seeks class action status under Fed. R. Civ. P. 23.
                     Citizen of Another State
                                                                                                  Check if the complaint seeks a nationwide injunction or Administrative Procedure Act vacatur.
                     Citizen or Subject of a Foreign Country

                     Incorporated or Principal Place of Business In California
                     Incorporated and Principal Place of Business In Another State

                     Foreign Nation

 VIII. RELATED CASE(S) OR MDL CASE
             Provide case name(s), number(s), and presiding judge(s).

 IX.        DIVISIONAL ASSIGNMENT pursuant to Civil Local Rule 3-2
            (Place an “X” in One Box Only) SAN FRANCISCO/OAKLAND                                                            SAN JOSE                            EUREKA-MCKINLEYVILLE


 DATE 02/03/2025                                SIGNATURE OF ATTORNEY OR PRO SE LITIGANT
